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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP, DONALD J. TRUMP
 JR., ERIC TRUMP, IVANKA TRUMP,

 and                                                    Docket No. 1:19-cv-03826
 THE DONALD J. TRUMP REVOCABLE                           CONSENTED-TO MOTION TO SET
 TRUST, THE TRUMP ORGANIZATION,                          BRIEFING SCHEDULE ON
 INC., TRUMP ORGANZATION LLC, DJT                        MOTION FOR PRELIMINARY
 HOLDINGS LLC, DJT HOLDINGS                              INJUNCTION
 MANAGING MEMBER LLC, TRUMP
 ACQUISITION LLC, and TRUMP
 ACQUISITION, CORP.,

                                  Plaintiffs,

                 - against -

 DEUTSCHE BANK AG and CAPITAL ONE
 FINANCIAL CORP.,

                                  Defendants.

        The undersigned counsel is authorized to inform the Court that he has conferred with counsel

for the Defendants, as well as counsel for the House of Representatives, and the parties have agreed

on the following proposed schedule for the briefing of a preliminary injunction in this case:

        1.      Counsel for the House of Representatives has indicated that it intends to intervene in

this action no later than May 3, 2019. Plaintiffs and Defendants consent to such intervention.

        2.      Plaintiffs intend to file a Motion for Preliminary Injunction no later than May 3, 2019.

        3.      Any opposition to that motion shall be filed no later than May 10, 2019.

        4.      Any reply brief in support of the motion shall be filed no later than May 15, 2019.

        5.      The parties are available for a hearing on the motion at the Court’s convenience the

week of May 20. If the Court prefers hearing at another time, the parties will endeavor to agree on

dates that work for all participants.




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       6.       Counsel for the House of Representatives has agreed to suspend the time for

production set by the subpoenas to seven (7) days after the District Court rules on Plaintiffs’ motion

for a preliminary injunction. Defendants have agreed not to produce any documents in response to

the subpoenas during that period, thereby avoiding the need for a TRO or other emergency

proceedings.

       7.       The parties agree that no other responsive pleadings need be filed until further order

of the Court.

       8.       A proposed order is included as an exhibit to this motion.



 Dated: May 1, 2019                                    Respectfully submitted,

                                                        s/ Patrick Strawbridge
 Marc L. Mukasey                                       Patrick Strawbridge
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                                                       Counsel for President Donald J. Trump,
                                                       Donald J. Trump Jr., Eric Trump, and Ivanka Trump




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                                 CERTIFICATE OF SERVICE
       I certify that on May 1, 2019, I electronically filed this document with the Clerk of Court for

the U.S. District Court for the Southern District of New York using the CM/ECF system, which will

send notification of the filing to all counsel. I also emailed this document to counsel for Deutsche

Bank AG and the House of Representatives.

                                                                       s/Patrick Strawbridge




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 DONALD J. TRUMP, DONALD J. TRUMP
 JR., ERIC TRUMP, IVANKA TRUMP,

 and                                                       Docket No. 1:19-cv-03826
 THE DONALD J. TRUMP REVOCABLE                              [PROPOSED] ORDER SETTING
 TRUST, THE TRUMP ORGANIZATION,                             BRIEFING SCHEDULE ON
 INC., TRUMP ORGANZATION LLC, DJT                           MOTION FOR PRELIMINARY
 HOLDINGS LLC, DJT HOLDINGS                                 INJUNCTION
 MANAGING MEMBER LLC, TRUMP
 ACQUISITION LLC, and TRUMP
 ACQUISITION, CORP.,

                                    Plaintiffs,

                    - against -

 DEUTSCHE BANK AG and CAPITAL ONE
 FINANCIAL CORP.,

                                    Defendants.

          Pursuant to agreement of the parties, the Court hereby sets the following briefing schedule:

          1.       Counsel for the House of Representatives shall file any motion to intervene no later

than May 3, 2019.

          2.       Plaintiffs shall file a Motion for Preliminary Injunction no later than May 3, 2019.

          3.       Any opposition to that motion shall be filed no later than May 10, 2019.

          4.       Any reply brief in support of the motion shall be filed no later than May 15, 2019.

          5.       The House of Representatives has postponed the return date for the subpoenas to the

Defendants until seven (7) days after the District Court rules on Plaintiffs’ motion for a preliminary

injunction. Defendants shall not produce any documents in response to the subpoenas during that

period.

          6.       Deadlines for filing any other responsive pleading with the Court are stayed pending

further order of the Court.


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7.       The parties shall appear for a hearing on _______________________.



Dated: ________________, 2019                              It is ordered,

                                                           _______________________
                                                           U.S. District Judge




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